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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF WASHINGTON
PDF FILE WITH AUDIO FILE ATTACHMENT

      2025-01029
      Eric Ross Young and Susan Linette Young



      Case Type :                    bk
      Case Number :                  2025-01029
      Case Title :                   Eric Ross Young and Susan Linette Young

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